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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


KPM ANALYTICS NORTH AMERICA
CORPORATION,
                Plaintiff.

       V.                                            Civil Action No. 21-cv-10572-MRG

BLUE SUN SCIENTIFIC, LLC, THE
INNOVATIVE TECHNOLOGIES GROUP &
CO., LTD., ARNOLD EILERT, MICHELLE
GAJEWSKI, ROBERT GAJEWSKI,
RACHAEL GLENISTER, GREGORY
ISRAELSON, IRVIN LUCAS, AND PHILIP
OSSOWSKI,

                      Defendants.



              KPM ANALYTICS NORTH AMERICA CORPORATION’S
                  MOTION FOR A PERMANENT INJUNCTION


       Pursuant to Federal Rule of Civil Procedure 65 and the Jury’s Verdict (ECF No. 230),

Plaintiff KPM Analytics North America Corporation (“KPM”) respectfully requests that the

Court issue a permanent injunction against all defendants consistent with the Proposed Order

filed herewith. In support of the relief sought, KPM also files herewith its Memorandum in

Support of KPM’s Motion for a Permanent Injunction. KPM requests oral argument on its

Motion for a Permanent Injunction.

       WHEREFORE, KPM respectfully requests that the Court enter a permanent injunction

against all defendants.




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Date: June 21, 2023                           Respectfully submitted,

                                              KPM ANALYTICS NORTH AMERICA
                                              CORPORATION

                                              By its attorneys,

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                                 Local Rule 7.1 Certification

       The undersigned counsel met and conferred with opposing counsel concerning the relief

sought in this Motion via email on June 21, 2023.

                                                    /s/ John T. Gutkoski




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of June 2023, a true and exact copy of the foregoing

was served on all counsel of record through the Court’s ECF system.

                                              /s/ John T. Gutkoski




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